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                            UNITED STATES DISTRICT COURT
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               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     UNITED STATES OF AMERICA, ex               NO.: CV 08-01885-CAS (AGRx)
12   rel. STEVEN J. HARTPENCE,
                                                [PROPOSED] JUDGMENT
13                            Plaintiff,
                                                Hon. Christina A. Snyder
14               v.
15   KINETIC CONCEPTS, INC. and KCI
     USA, INC.,
16
                              Defendants.
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19 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
20     On June 14, 2019, this Court issued an order granting Defendants Kinetic Concepts,
21 Inc. and KCI USA, Inc.’s Motion for Summary Judgment. (ECF No. 518.) In accordance
22 with that order,
23         IT IS ORDERED, ADJUDGED, AND DECREED that judgment is entered in favor

24 of Defendants, that Plaintiff Steven J. Hartpence take nothing from Defendants, that the
25 action be dismissed with prejudice on the merits, and that Defendants recover their
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                                          1
                                 [PROPOSED] JUDGMENT
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 1 costs of suit from Steven J. Hartpence pursuant to a bill of costs filed in accordance with
 2 28 U.S.C. § 1920, Federal Rule of Civil Procedure 54, and Local Rule 54.
 3        IT IS SO ORDERED.
 4 DATED        July 5, 2019
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                                                  Hon. Christina A. Snyder
 6                                                United States District Court Judge
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                                  [PROPOSED] JUDGMENT
